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                     UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 BEN LAPIN,

                         Plaintiff,
 v.                                          Case No. 6:20-cv-357-Orl-31GJK

 TUPPERWARE BRANDS
 CORPORATION,
 PATRICIA STITZEL,
 CHRISTOPHER D. O’LEARY,
 CASSANDRA HARRIS, and
 MICHAEL POTESHMAN,

                         Defendants.
 _______________________________________


 STEWART SCHREIBER and KAREN
 SCHREIBER,

                         Plaintiffs,
 v.                                          Case No. 6:20-cv-507-Orl-31GJK

 TUPPERWARE BRANDS
 CORPORATION,
 PATRICIA STITZEL,
 CHRISTOPHER D. O’LEARY,
 CASSANDRA HARRIS, and
 MICHAEL POTESHMAN,


                         Defendants.

 _______________________________________


 JARED BERTRIM,

                         Plaintiff,
 v.                                          Case No. 6:20-cv-757-Orl-31GJK
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 TUPPERWARE BRANDS
 CORPORATION,
 PATRICIA STITZEL,
 CHRISTOPHER D. O’LEARY,
 CASSANDRA HARRIS, and
 MICHAEL POTESHMAN,

                             Defendants.

 ___________________________________

                                                     ORDER 1

            This cause came on for consideration, without oral argument, on the following motion:

              MOTION:           MOTION AND MEMORANDUM OF LAW IN
                                SUPPORT OF MOVANT SRIKALAHASTI M.
                                VAGAVALA TO: (1) CONSOLIDATE RELATED
                                ACTIONS; (2) APPOINT LEAD PLAINTIFF; AND (3)
                                APPROVE SELECTION OF COUNSEL (Doc. No. 30)

              FILED:             APRIL 27, 2020

              _______________________________________________________

              THEREON it is ORDERED that the motion is GRANTED in part and
              RULING IS DEFERRED in part.


            On February 28, 2020, Plaintiff filed this class action against Defendants for violations

 under the Exchange Act (the “Lapin Action”). Doc. No. 1. Similar complaints were filed on

 February 25, 2020, in the Central District Court of California (the “Bertrim Action”) (6:20-cv-

 757, Doc. No. 1), and in this Court on March 20, 2020 (the “Schreiber Action”) (6:20-cv-507,

 Doc. No. 1). Doc. No. 30 at 6. On April 30, 2020, the Bertrim Action was transferred to this



 1
     Magistrate Judge David A. Baker substituting for Magistrate Judge Gregory J. Kelly.
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Court. Id. (6:20-cv-757, Doc. Nos. 40, 41). Also pending in this Court is a shareholder derivative

action involving similar allegations (6:20-cv-627).

        Multiple movants sought to consolidate these actions and sought appointment as lead plaintiff,

and to appoint lead counsel. Doc. Nos. 28, 29, 30, 32, 34; 6:20-cv-507, Doc. Nos. 32, 33, 34; 6:20-cv-

757, Doc. Nos. 18, 22, 25, 30, 34. On May 1, 2020, this Court entered an Order directing the movants

to confer on the pending motions and file a supplemental 3.01(g). Doc. No. 37. Neither the other

movants nor Defendants oppose consolidation. Doc. Nos. 39, 40, 41, 42, 43. 2 The other movants do

not oppose Srikalahasti M. Vagvala’s (“Vagvala”) motion to be appointed lead plaintiff and to appoint

lead counsel; Defendants take no position. 3 Doc. Nos. 39, 40, 41, 42, 43.

        All of the complaints allege that throughout the identified class period, Defendants made

materially false and/or misleading statements and failed to disclose material adverse facts about

Tupperware’s business operations. Doc. No. 30 at 7. All the complaints are alleged as securities class

actions. Id. The class period is alleged to have commenced on January 30, 2019. Id.

        Federal Rule of Civil Procedure 42(a) and Local Rule 1.04(c) govern the consolidation of cases

for consideration in the Middle District of Florida. Rule 42(a)(2) provides that “[i]f actions before the

court involve a common question of law or fact, the court may” consolidate the actions. See also Local

Rule 1.04(c). “In securities actions where the complaints are based on the same ‘public statements and

reports’ consolidation is appropriate if there are common questions of law and fact and the defendants

will not be prejudiced.” Vincelli v. Nat’l Home Heath Corp., 113 F. Supp. 2d 1309, 1313 (M.D. Fla.

2000) (quoting Werner v. Saterlee, Stephens, Burke & Burke, 797 F. Supp. 1196, 1211 (S.D.N.Y.

1992)). 15 U.S.C. § 78u-4 requires the court to address any outstanding motions to consolidate before

considering motions for appointment of lead counsel. Id. § 78u-4(a)(3)(B)(ii).




2
 One motion (Doc. No. 32) was withdrawn in response to the Court’s order. Doc. No. 40.
3
 The substance of Vagvala’s motion with regard to appointment as lead plaintiff and selection of lead counsel shall be
addressed in a separate Report and Recommendation.
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       Accordingly, Vagvala’s Motion to Consolidate is GRANTED in part and the RULING

DEFERRED in part as follows:

       1.      Case Numbers 6:20-cv-00357-31-GJK, 6:20-cv-00507-31-GJK, and 6:20-cv-757-31-

               GJK shall be consolidated (Case number 6:20-cv-627 is unaffected by this ruling);

       2.       All subsequent papers, pleadings, and motions shall be filed in the consolidated action

               in 20-cv-357-31-GJK which will be recaptioned “In re Tupperware Brands Corporation

               Securities Litigation”;

       3.      The other pending motions to consolidate and for appointment as lead plaintiff in 6:20-

               cv-357-31-GJK (Doc. Nos. 28, 29 and 34) and any unresolved motions in Cases 6:20-

               cv-507 and 6:20-cv-757 are TERMINATED;

       4.      The Clerk is directed to administratively close 6:20-cv-00507-31-GJK and

               6:20-cv-00757-31-GJK.      The movants should refile in the consolidated action any

               pending motions from the closed actions that still require disposition; and

       5.      Consideration of the remainder of Vagvala’s Motion (Doc. No. 30) is DEFERRED

pending further Order of the Court.

       Any attorney wishing to be removed from the service list in the consolidated docket shall notify

the Clerk, who is hereby authorized to delete the requesting attorney from the list without further order.

       DONE and ORDERED at Orlando, Florida on May 8, 2020.




Copies to:
Counsel of Record
